                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                        2021-NCCOA-559

                                         No. COA21-178

                                      Filed 19 October 2021

     Alamance County, Nos. 20 JA 126, 20 JA 127, 20 JA 128



     IN THE MATTER OF:

     W.C.T., W.J.A.T., &amp; W.D.T.


           Appeal by respondents from order entered 17 December 2020 by Judge

     Kathryn W. Overby in Alamance County District Court. Heard in the Court of

     Appeals 11 August 2021.


           Wendy Walker for Petitioner-Appellee Alamance County Department of Social
           Services.

           Office of the Parent Defender, by Parent Defender Wendy C. Sotolongo and
           Assistant Parent Defender J. Lee Gilliam, for Respondent-Appellant-Mother.

           Edward Eldred for Respondent-Appellant-Father.

           Forrest Firm, P.C., by Brian C. Bernhardt, for Guardian ad Litem.


           CARPENTER, Judge.


¶1         Respondent-Mother and Respondent-Father (collectively “Respondents”)

     appeal from the trial court’s Adjudication and Disposition Order adjudicating minor

     child, Wade,1 as an abused, neglected, and dependent juvenile; adjudicating the other


           1 Pseudonyms have been used to protect the identities of the children.
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     two minor children, Wes and Wren, as neglected and dependent juveniles; and vesting

     custody of the children with Alamance County Department of Social Services

     (“ACDSS”). Respondents argue the trial court erred in adjudicating Wade abused

     and dependent, and adjudicating Wes and Wren dependent. Respondent-Mother also

     argues the trial court abused its discretion by limiting her visitation with the children

     to highly supervised, one-hour weekly visits; requiring proof of income; and ordering

     her to “refrain from allowing mental health to impact parenting.” Finally,

     Respondent-Mother contends the trial court erred in concluding she acted

     inconsistently with her constitutionally protected status as a parent. For the reasons

     set forth below, we affirm the Adjudication and Disposition Order.

                               I. Factual &amp; Procedural Background

¶2         Respondent-Mother and Respondent-Father are the biological parents of three

     children: “Wes,” eight years old; “Wren,” three years old; and “Wade,” one year old.

     Respondent-Mother is legally married to her estranged husband, Peter,2 and was

     married to, but separated from, Peter prior to the births of the three children. Peter

     is not a party to this appeal.

¶3         On 12 March 2020, Wade, then three months old, was taken to Moses Cone

     Hospital for second and third degree burns on 8.3% of his left thigh, left calf, and left




           2 A pseudonym has been used.
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     foot. Immediately after arriving to Moses Cone Hospital, Wade was transferred to

     Wake Forest Baptist Medical Center/Brenner Children’s Hospital (“BCH”) for

     treatment by its burn team. The injury was not witnessed, and the parties have

     offered multiple, inconsistent, and implausible stories to explain the circumstances

     surrounding the child’s injury.

¶4          Respondents reported to Moses Cone Hospital staff that Wade was in a baby

     swing or rocker downstairs when their German Shepherd dog knocked over the

     swing. Respondents alleged that Wade fell out of the swing and was pushed up

     against an electrical space heater for what they estimated was approximately thirty

     minutes; they reported finding him laying against the heater. Respondents claimed

     to have immediately transported Wade to the hospital after discovering his injuries.

     Respondents also told this story to both BCH staff and a Forsyth County Department

     of Social Services (“FCDSS”) social worker who interviewed them on 13 March 2020.

     During the interview with the social worker, Respondent-Mother admitted Wade was

     not yet able to roll over at the time of injury.

¶5          BCH triage notes indicate the “burn distribution is consistent w[ith the] story”

     Respondents told. The notes also document concerns regarding: the child being left

     unattended by a heater, the thirty- to forty-minute period for which Respondents

     could not account, how a dog knocked over the swing, why the space heater was left

     on during a hot day, and why the parents did not immediately hear the child’s cries.
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     The initial screening for domestic violence, abuse, and neglect did not raise concerns;

     however, child abuse protocol was initiated by BCH on 13 March 2020 at 2:30 a.m.

     after BCH received an anonymous phone call from someone who claimed to be

     familiar with Respondent’s family and sought the case be reported to Child Protective

     Services (“CPS”). The caller claimed to have recordings of the paternal grandmother

     threatening Wade the day of his injury. The caller also stated that the paternal

     grandmother often leaves the children unattended and claimed Respondent-Mother

     was at risk for abuse. The attending physician referred Wade for a consultation with

     Dr. Meggan Goodpasture of the BCH Pediatric Child Protection team.                 Dr.

     Goodpasture met with the maternal grandmother and Respondent-Father. Although

     the maternal grandmother expressed safety concerns in her meeting with Dr.

     Goodpasture, the family had no subsequent meetings with the doctor because

     Respondent-Father advised BCH that he did not want Dr. Goodpasture in Wade’s

     hospital room again.      Based on Dr. Goodpasture’s initial consultation, she

     recommended, inter alia, CPS and law enforcement reconstruct the scene of the

     injury and perform full child medical evaluations on each of the three children.

¶6          Guilford County Department of Social Services (“GCDSS”) received a report

     for physical abuse concerning Wade on 13 March 2020. Later that day, GCDSS sent

     a request to FCDSS to assist in the investigation.       Social Worker Pope of FCDSS

     interviewed nurse staff of BCH as well as the Respondents. After Social Worker Pope
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     left Wade’s hospital room, Respondent-Father stated to the attending nurse, Nurse

     Green, that the social worker told him the burn was caused by boiling water. He then

     became “visibly upset” and stated, “I feel like I’m being accused of a crime that I did

     not commit.” Respondent-Father indicated an unidentified staff member in scrubs

     had also commented the burn was “from boiling water.” Nurse Green was able to

     “diffuse the situation” by indicating physicians did not have suspicions of

     Respondents’ story, Respondent-Father became more at ease and mentioned he has

     post-traumatic stress disorder (“PTSD”) from being “burned and abused” by his own

     father, which caused him to distrust “the system.”            Neither the emergency

     department notes, nor the social workers’ reports state the burn was caused by boiling

     water.

¶7            On 27 March 2020, Dr. John Bailey of the BCH burn team entered a progress

     note regarding Wade’s case. He documented he and Dr. Goodpasture agreed Wade

     “appear[ed] to have suffered a contact burn.” He also noted that neither of the doctors

     could “offer more than a speculation regarding the true mechanism [of the injury],

     although involvement of the pet seems less likely.”

¶8            On 1 April 2020, a Child and Family Team meeting was held between GCDSS,

     Respondent-Mother, and Respondent-Father. At the meeting, Respondents agreed

     to enter a safety agreement whereby the children would be placed with the maternal

     grandparents as a temporary safety provider, Respondents would not have
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     unsupervised visits or overnight stays with the children, and Respondents would

     receive mental health services. Wade was discharged from BCH into the maternal

     grandparents’ care the following day.

¶9         On 2 April 2020, another Child and Family Team meeting was held via

     conference call with Respondents, GCDSS, and the paternal grandmother, and

     Krispen Culberton (“Attorney Culberton”)—attorney for Respondents’ family.

     Attorney Culberton reported Respondents’ concerns for Wren’s behavior and her

     aggression towards Wade.      According to Attorney Culberton, Respondents were

     afraid to report they believed Wren caused Wade’s injuries.            The paternal

     grandmother claimed at the meeting she was the sole caretaker of the juveniles when

     Wade was injured. According to the paternal grandmother’s version of events, she

     fed Wade and laid him in his bassinet, she put Wren down in her playpen, and she

     went downstairs to prepare dinner. She later sent Wes upstairs to check on Wren

     and Wade. Immediately after, Wes came running downstairs screaming Wade had

     been burned. The paternal grandmother speculated that Wren climbed out of her

     playpen, pulled Wade out of his bassinet, and climbed back into her playpen.

     Following the injury, the paternal grandmother treated Wade’s burns with Vaseline

     before taking him to the hospital. Respondents adopted this story and later reported

     this account of events to Detective Gerald Austin (“Detective Austin”) of the Guilford

     County Sheriff’s Department, who handled the criminal investigation into Wade’s
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       injury.

¶ 10         On 16 April 2020, a child medical evaluation was performed on each of the

       three children by Dr. Esther Smith of the Cone Health Child Advocacy Medical Clinic,

       as recommended by Dr. Goodpasture. In Dr. Smith’s opinion, “it is possible that

       [Wade’s] injuries are consistent with having been burned by prolonged direct or near-

       direct contact with [Respondents’] space heater”; however, she noted “there is a very

       high concern for [an i]ntentional[ly i]nflicted injury (at worst) . . . and/or [n]eglect

       resulting in [an u]nintentional [i]njury (at best).” She expressed concerns for the red

       flags identified by BCH as well as concerns for the “very unsafe infant sleep

       environment” which included lack of supervision, close proximity to a heat source,

       suffocation risk due to excess blankets in bassinet, and potential fall risk due to a

       cradle that may have been improperly assembled.

¶ 11         In May of 2020, the case was transferred from GCDSS to ACDSS due to a

       potential conflict of interest that arose after Respondent-Father and his attorney

       threatened to sue GCDSS and/or its employees over an alleged HIPAA violation.

¶ 12         On 21 July 2020, concerns arose regarding the kinship placement with the

       maternal grandparents when ACDSS social workers arrived at the maternal

       grandparents’    home    unannounced      and    found    the   maternal   grandmother

       overwhelmed with caring for the children. The maternal grandmother admitted that

       she was frustrated by Respondents’ tardiness to scheduled visitations. She also
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       admitted to “backhand[ing]” Wren after Wren spit in her face. ACDSS immediately

       terminated the kinship placement and advised Respondents that a replacement

       temporary safety provider was needed.

¶ 13         On 21 July 2020, the children were placed with a neighbor of the maternal

       grandparents who agreed to be a temporary placement until 21 August 2020.

       Respondents gave ACDSS the name of another family for a potential placement.

       However, one of the proposed caretakers of the new family was an employee of

       ACDSS so the agency concluded the family was ineligible due to a conflict of interest.

       In August of 2020, ACDSS received multiple phone calls from individuals who

       claimed Respondents were seeking potential placements off the street and through

       social media. ACDSS held a Child and Family Team meeting with Respondents on

       21 August 2020 to inform them that the agency would need to seek court involvement

       if Respondents could not provide a viable placement option. After Respondents did

       not provide an alternative placement, ACDSS informed the parents that it would be

       filing a non-secure order for custody of the children.

¶ 14         On 21 August 2020, ACDSS filed a petition alleging Wade was an abused,

       neglected, and dependent juvenile, and petitions alleging Wes and Wren were

       neglected and dependent juveniles.       The petitions alleged, inter alia: (1) “that

       [Wade’s] parents and/or caretaker have inflicted or allowed to be inflicted serious

       physical injury, possible by other than accidental means and/or created a serious risk
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       of physical injury by other than accidental means”; (2) that “[t]he juveniles have been

       neglected in that the juveniles do not receive appropriate care, supervision, or

       discipline from their parents and/or caretaker”; (3) “[t]hat the parents do not have an

       appropriate plan of care for the juveniles”; and (4) “[t]hat the juveniles would be at

       significant risk of harm if placed with the parents and/or paternal grandmother.”

¶ 15         On 21 August 2020, the Alamance County District Court issued orders for

       nonsecure custody of the three children, finding a reasonable factual basis to conclude

       the children were exposed to a substantial risk of physical injury. The court ordered

       the children placed in nonsecure custody with ACDSS and set a hearing on 26 August

       2020 to determine the need for continued nonsecure custody.          ACDSS obtained

       nonsecure custody of the children and placed them together in a foster home in Moore

       County.

¶ 16         On 26 August 2020, a hearing was held before the Honorable Kathryn W.

       Overby to determine the need for continued non-secure custody of the children.

       Following the hearing, Judge Overby entered an order on 16 September 2020 finding,

       inter alia, that the juveniles’ return to their own home would be contrary to the best

       interests of the juveniles, and mandating, inter alia, that temporary custody of the

       juveniles be continued in ACDSS for non-secure placement.

¶ 17         An adjudication hearing was held between 18 November 2020 and 20

       November 2020 before Judge Overby. Testimony was given by two social workers
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       familiar with the case, Respondent-Mother, Respondent-Father, the maternal

       grandmother, a co-worker of Respondent-Mother, Detective Austin, and the guardian

       ad litem for the children.

¶ 18         Detective Austin testified he investigated the case after he became aware

       through BCH that a child “suffered burns under suspicious circumstances . . . .”

       Detective Austin spoke with Respondent-Mother and Respondent-Father while they

       were visiting BCH on 18 March 2020, to make them aware of his investigation.

       Respondent-Father used a recording device to record his conversation with Detective

       Austin and advised he had an attorney.

¶ 19         Detective Austin testified he obtained a search warrant to search Respondents’

       home and executed the search warrant on 19 March 2020.             Two GCDSS social

       workers accompanied him during his search of the home. Detective Austin testified

       he seized the space heater that was alleged to have been the mechanism of the injury

       and took photographs of Respondents’ home. He later performed tests on the heater

       using a “calibrated thermometer to record temperatures at . . . different points” of the

       heater. He determined that at the vents of the heater, the temperature fluctuated

       between 178.7- and 248.6-degrees Fahrenheit, rather than keeping a steady

       temperature. The vents were the warmest points of the heater. Following Detective

       Austin’s investigation, Respondent-Father, Respondent-Mother, and the paternal

       grandmother were charged with and arrested for felony negligent child abuse
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       resulting in serious bodily injury.

¶ 20         Respondent-Mother testified as to the events of 12 March 2020. According to

       Respondent-Mother, she called her mother to pick her up because Respondent-Father

       took the truck she had driven to work, to get it fixed and inspected, and he was not

       answering his phone. Respondent-Mother testified she left the store between 5:00

       p.m. and 5:30 p.m. When asked why she gave multiple stories regarding Wade’s

       injury, Respondent-Mother responded that she and Respondent-Father “panicked,”

       and “were terrified that something was going to happen to [Wren].”

¶ 21         The maternal grandmother testified that Respondent-Mother called her upset

       and crying at about 4:00 p.m. on 12 March 2020 and told her mother she did not have

       a ride home; the maternal grandmother agreed to pick up Respondent-Mother at the

       end of her shift. Shortly after 5:00 p.m., Respondent-Mother called the maternal

       grandmother to tell her she was ready to be picked up.         When the maternal

       grandmother arrived around 5:30 p.m., Respondent-Mother stated, “she did not want

       to go back home” and requested to go to the maternal grandmother’s house instead.

       Respondent-Mother told the maternal grandmother that Respondent-Father and the

       paternal grandmother leave the children alone, and Respondent-Mother has found

       the children alone when she has come home from work. At approximately 6:00 p.m.,

       Respondent-Father arrived at the maternal grandmother’s house.         Respondents

       spoke in the driveway for approximately two hours regarding “some incidents that
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       were happening at the store” where Respondent-Mother worked.             The maternal

       grandmother testified that Respondent-Father’s phone “kept ringing,” and he

       “eventually . . . tossed it over into the yard . . . .” When Respondent-Mother was asked

       at the hearing if she was arguing with Respondent-Father at the maternal

       grandmother’s home on the evening of 12 March 2020, Respondent-Mother stated

       they were discussing her job because she was trying to have the district manager

       transfer her co-worker “Robert,”3 who had been “making sexual advances towards”

       her.

¶ 22          The record reveals the paternal grandmother called Respondent-Father

       eighteen times between 7:01 p.m. and 7:52 p.m. and Respondent-Father answered

       just one of her calls at 7:52 p.m. Respondent-Father then “hurried [Respondent-

       M]other home without telling her the nature of the phone call.”          The maternal

       grandmother’s testimony indicates Respondents left her home between 8:00 p.m. and

       8:20 p.m. According to Respondent-Mother, she and Respondent-Father arrived at

       their home at about 8:15 p.m. Respondent-Mother testified Wade was not crying

       when they got home. She took him upstairs to look at his burns. Shortly thereafter,

       Respondents took Wade to the hospital.

¶ 23          Respondent-Mother’s co-worker Robert testified regarding events that had




              3 A pseudonym has been used.
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       transpired at the store and incidents in which Respondent-Mother had confided in

       him.   According to Robert, he would “hear things from other people” about

       Respondent-Mother and would ask Respondent-Mother if they were true. On one

       such instance, Robert asked Respondent-Mother if the paternal grandmother “had

       pulled a gun on her when [Wes] was a young boy . . . and told [Respondent-Mother]

       that she would hurt her and no one would ever find her,” while the two were in the

       presence of Wes. Robert testified Respondent-Mother confirmed this incident had

       occurred.   Robert also testified to speaking with Respondent-Mother the day of

       Wade’s injury. Respondent-Mother told him that just the day before, on 11 March

       2020, “she . . . went home and the kids were at home by [themselves], and it was a

       couple hours later that [the paternal grandmother] and [Respondent-Father]” arrived

       home. On the day of 12 March 2020, Robert testified he saw Respondent-Father and

       the paternal grandmother behind the store dumping their personal trash in the

       store’s dumpster. He did not see the three children in the pickup truck. Later that

       day, Robert overheard the store’s manager on duty taking a call from the paternal

       grandmother. Robert testified he could hear the paternal grandmother through the

       phone using obscenities referring to the Respondent-Mother and stating,

       “[Respondent-Mother] needs to come home and take care of her children or someone

       would take care of them for her.”

¶ 24          An initial disposition hearing was held before Judge Overby on 20 November
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       2020 following the adjudication hearing. After the presentation of all evidence, the

       trial court announced its judgment in open court and ordered custody of the juveniles

       be vested with ACDSS.        On 17 December 2020, the trial court entered the

       Adjudication and Disposition Order in which it made factual findings supported by

       clear and convincing evidence to conclude Respondents and/or a caretaker inflicted

       or allowed to be inflicted serious physical injury possible by other than accidental

       means and/or created a serious risk of physical injury by other than accidental means,

       Respondents and/or a caretaker did not provide appropriate care or supervision for

       the juveniles, and Respondents and/or a caretaker created an injurious environment

       placing the juveniles at substantial risk of harm. The trial court also concluded Wade

       is an abused, neglected, and dependent juvenile, and Wes and Wren are neglected

       and dependent juveniles.    Respondent-Mother and Respondent-Father each filed

       timely notices of appeal from the Adjudication and Disposition Order.

                                         II. Jurisdiction

¶ 25         This Court has jurisdiction to address Respondent-Father’s and Respondent-

       Mother’s appeals from the Adjudication and Disposition Order pursuant to N.C. Gen.

       Stat. § 7A-27(b)(2) (2019) and N.C. Gen. Stat. § 7B-1001(a)(3) (2019).

                                            III. Issues

¶ 26         On appeal, Respondent-Mother and Respondent-Father raise two common

       issues: (1) whether the trial erred in adjudicating Wade an abused juvenile; and (2)
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       whether the trial court erred in adjudicating Respondents’ three children dependent

       juveniles. Respondent-Mother raises three additional issues: (1) whether the trial

       court erred in ordering Respondent-Mother to show proof of income and to refrain

       from allowing mental health to impact parenting as steps to remedy the conditions

       in the home that led to the juveniles’ adjudications; (2) whether the trial court abused

       its discretion in limiting Respondent-Mother’s visitation with the children to highly

       supervised, one-hour weekly visits; and (3) whether the trial court erred in concluding

       Respondent-Mother had acted inconsistently with her constitutionally protected

       parental status.

                                         IV. Adjudication

                                       A. Standard of Review

¶ 27         “The allegations in a petition alleging that a juvenile is abused, neglected, or

       dependent shall be proved by clear and convincing evidence.” N.C. Gen. Stat. § 7B-

       805 (2019). “When reviewing a trial court’s order adjudicating a juvenile abused,

       neglected, or dependent, this Court’s duty is ‘to determine (1) whether the findings of

       fact are supported by clear and convincing evidence, and (2) whether the legal

       conclusions are supported by findings of fact.’” In re F.C.D., 244 N.C. App. 243, 246

       780 S.E.2d 214, 217 (2015) (quoting In re T.H.T., 185 N.C. App. 337, 343, 648 S.E.2d

       519, 523 (2007) (citation, quotation marks, and brackets omitted), aff’d as modified,

       362 N.C. 446, 665 S.E.2d 54 (2008)). “If supported by competent evidence, the trial
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       court’s findings are binding on appeal even if the evidence would also support

       contrary findings.” Id. at 246, 780 S.E.2d at 217 (citation omitted). Unchallenged

       findings of fact are deemed supported by competent evidence and binding on appeal.

       In re J.M.W., 179 N.C. 788, 792, 635 S.E.2d 916, 919 (2006) (citation omitted). The

       determination of whether a child is abused, neglected, or dependent is a conclusion

       of law. In re Ellis, 135 N.C. App. 338, 340, 520 S.E.2d 118, 120 (1999). The trial

       court’s conclusions of law are reviewed de novo. In re Pope, 144 N.C. App. 32, 40, 547

       S.E.2d 153, 158 (citation omitted), aff’d, 354 N.C. 359, 554 S.E.2d 644 (2001).

                                      B. Adjudication of Abuse

                                1. Findings of Fact regarding Abuse

¶ 28         On appeal, Respondent-Mother argues the trial court erred in adjudicating

       Wade abused on the basis there was no clear and convincing evidence that the

       injuries were “other than accidental.” Similarly, Respondent-Father contends “[t]he

       trial court’s evidentiary findings of fact do not support the ultimate finding that

       Wade’s injury was non-accidental”; rather, the findings establish that the injury was

       “caused by a ‘lack of supervision.’”

¶ 29         The Juvenile Code defines an “abused juvenile” in pertinent part as

                    [a]ny juvenile less than 18 years of age . . . whose parent,
                    guardian, custodian, or caretaker:

                    a. [i]nflicts or allows to be inflicted upon the juvenile a
                       serious physical injury by other than accidental means;
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                       [or]

                    b. [c]reates or allows to be created a substantial risk of
                       serious physical injury to the juvenile by other than
                       accidental means.

       N.C. Gen. Stat. § 7B-101(1)(a)-(b) (2019).

¶ 30         “This Court has previously upheld adjudications of abuse where a child

       sustains non-accidental injuries, even where the injuries were unexplained.” In re

       J.M., 255 N.C. App. 483, 495, 804 S.E.2d 830, 838–39 (2017); see In re T.H.T., 185

       N.C. App. 337, 648 S.E.2d 519 (2007) (affirming an abuse adjudication where a

       physician concluded a child’s skull fracture was caused by non-accidental means, the

       mother’s explanations were not consistent with the injuries observed, and the mother

       failed to seek medical attention for the child). Additionally, this Court has held that

       a respondent mother’s knowledge of a substantial risk of serious physical injury posed

       to her children was sufficient to conclude that respondent “allowe[d] to be created a

       substantial risk of serious physical injury to the juvenile[s] by other than accidental

       means.” In re M.G., 187 N.C. App. 536, 549, 653 S.E.2d 581, 589 (2007), rev’d in part

       on other grounds, 363 N.C. 570, 681 S.E.2d 290 (2009) (upholding an abuse

       adjudication where the respondent mother knew of the respondent father’s violent

       and abusive nature and “failed to take the necessary steps to protect [her] minor

       children”). As our Court stated in In re K.L., the exact cause of a child’s injury may

       be unclear in a case involving an adjudication of abuse; however, if the trial court’s
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       findings of fact support the inference the respondents are responsible for the

       unexplained injury by clear and convincing evidence, the abuse adjudication will be

       affirmed. 272 N.C. App. 30, 40, 845 S.E.2d 182, 191, disc. rev. denied, 2020 N.C.

       LEXIS 1353 (2020).

¶ 31         In the instant case, the trial court concluded Respondents had “inflicted or

       allowed to be inflicted serious physical injury, possible by other than accidental

       means and/or created a serious risk of physical injury by other than accidental

       means” and “did not provide appropriate care or supervision for the juveniles and

       created an injurious environment placing the juveniles at substantial risk of harm.”

       The trial court made the following pertinent findings of fact, which support its

       adjudication of abuse:

                    27.   On March 12, 2020, the respondent parents along
                          with the three juveniles lived with . . . the
                          respondent father’s mother (paternal grandmother
                          to the juveniles) . . . .
                    28.   The respondent mother was employed . . . and
                          worked approximately sixty (60) hours each week,
                    29.   The respondent father was not employed. He
                          indicated to hospital employees that he has post-
                          traumatic stress disorder (PTSD).
                    30.   The respondent mother told co-worker [Robert] and
                          her mother . . . that she had found [her children]
                          alone and unsupervised on March 11, 2020 when she
                          came home from work. She had no idea how long the
                          juveniles had been left alone in the home.
                    31.   On March 12, 2020 the respondent mother told
                          [Robert] and her mother that she was upset about
                          finding the juveniles alone the day before.
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32.   The respondent mother told Robert and her mother
      that [the paternal grandmother] had held a gun to
      her while she was holding [Wes] as an infant. She
      reported that this was due to [the paternal
      grandmother] not taking her medication.
33.   On July 14, 2018, the respondent parents spoke to a
      clinical social worker and the respondent mother
      noted that [the paternal grandmother] “can be
      verbally abusive to her” due to [the paternal
      grandmother’s]       non-compliance      with    her
      medication.
34.   On March 12, 2020, the respondent mother worked
      her shift . . . . During the shift the paternal
      grandmother drove the respondent father to the
      [respondent mother’s work] to get the pick-up truck
      that the respondent mother had driven to work that
      day. She was left without any way to get home after
      her shift.      The respondent mother called the
      respondent father multiple times to pick her up and
      bring her home, but he did not answer any of her
      calls or texts. According to her co-worker and her
      mother, the respondent mother was very upset and
      crying that day. The respondent mother called her
      mother . . . to come pick her up from [work].
35.   Around 4:30 pm [Robert] saw the respondent father
      and [the paternal grandmother] at [the respondent
      mother’s work] together in the pick-up truck without
      the juveniles.
36.   [The maternal grandmother] took the respondent
      mother to her house and not to the respondent
      mother’s home on March 12, 2020 between 5:30 pm
      and 6:00 pm.
37.   After the respondent mother had left [work], the
      respondent father arrived and inquired if the
      respondent mother was still there.
38.   After the respondent father left [the respondent
      mother’s work] (sometime after 6:00 pm), [the
      paternal grandmother] arrived and came inside the
      store and left a few minutes later.
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39.    After appearing at [the respondent mother’s work],
       [the paternal grandmother] called the store several
       times and spoke to the manger [sic]. [Robert] heard
       [the paternal grandmother] call the respondent
       mother names and said the respondent mother had
       been at work since 6:00 a.m. and that she needed to
       come home and take care of her kids and if she
       doesn’t come home someone will take care of her kids
       for her.
40.    The respondent father came to [the maternal
       grandmother’s] home and spoke to the respondent
       mother and [the maternal grandmother] for
       approximately two hours. During the conversation,
       the respondent father’s phone rang approximately
       eighteen (18) times with the paternal grandmother
       calling him, between 7:01 and 7:52 pm. He did not
       answer and tossed his phone at one point because he
       was tired of the repeated calls. At 7:52 pm the
       respondent father answered the call from his mother
       and then hurried the respondent mother home
       without telling her the nature of the phone call. The
       paternal grandmother did not call the respondent
       father again until 8:42 pm, right as the respondent
       parents arrived at Moses Cone hospital with [Wade].
....
42.    When the respondent parents returned home, [the
       paternal grandmother] was holding [Wade] (the
       youngest juvenile) in her arms, wrapped in a blanket
       and she told the respondent parents that [Wade] had
       been burned. The respondent mother took [Wade],
       walked him up the stairs, laid him down and
       unwrapped the blanket to inspect his injuries (which
       were bleeding, blistered, and oozing at that time)
       before she wrapped him back up and took him
       downstairs and out to the car. The respondent
       parents then took [Wade] to Moses Cone hospital.
43.    They arrived at Moses Cone hospital at 8:41 pm.
       Both respondent parents told hospital employees
       that [Wade] was in his swing when the family dog
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      knocked over the swing causing [Wade] to fall out of
      the swing and onto a space heater. That this
      happened just prior to arrival and they came
      immediately to Moses Cone. This series of events
      was a complete lie that was told by both parents and
      the paternal grandmother over and over to hospital
      employees, social workers, and law enforcement.
      The respondent parents did not just panic and tell a
      story about [Wade’s] injuries on March 12, 2020;
      they conspired together with [the paternal
      grandmother] to develop a completely false
      narrative.
44.   At no time between [the paternal grandmother]
      discovering [Wade’s] injury and arrival at 8:41 pm
      did anyone call 911. [The paternal grandmother] did
      not call 911 while she was at home alone with the
      juveniles; instead she called the respondent father
      18 times before he answered his phone. The
      respondent parents did not call 911 after learning of
      the injuries, when they saw [Wade] at the home or
      on the way to the hospital.
45.   The lack of supervision of these juveniles led to
      [Wade] sustaining his injuries.
46.   [Wade] was transported via ambulance to Wake
      Forest Baptist Medical Center (WFBMC)/Brenner’s
      Children’s Hospital at 11:15 pm. By 2:30 a.m. abuse
      protocol was initiated, and security was placed
      bedside for [Wade]. There was a note that a social
      worker consult was required because of “vague
      explanations by parents” of the mechanism of
      [Wade’s] injuries.
47.   The WFBMC records have different stories about
      how [Wade] sustained his injuries: He was in a
      rocker, glider, tripod swing, or wooden bassinet; he
      was knocked out of the swing and onto the heater;
      he rolled out of the rocker and rolled into the heater.
      At some point, a physician notes that [Wade’s] burns
      were consistent with burns from a heater, but it was
      not likely that there was a dog involved.
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48.    [Wade] sustained first, second, and third degree
       burns to 8.3 percent of his body area, concentrated
       on the left thigh, calf, and foot. He had second
       degree burns around his left hip area and a slight
       first degree burns to the left abdomen and under his
       left arm. He required surgery to remove the dead
       skin. [Wade] remained at WFBMC until April 2,
       2020.
49.    Guilford County social worker (SW) Cquadayshia
       Sharpe received an investigative assessment for
       physical abuse and/or injurious environment that
       required immediate response on March 13, 2020.
50.    SW Sharpe went to [the respondents’ home] and met
       with [the paternal grandmother] on March 13, 2020.
       [The paternal grandmother] would not allow SW
       Sharpe inside the home or to have access to the two
       juveniles that were present [Wren and Wes]. When
       SW Sharpe indicated that she would have to get law
       enforcement involved if she could not see the two
       juveniles, [the paternal grandmother] brought the
       juveniles outside. SW Sharpe tried to talk to [Wes],
       but [the paternal grandmother would answer the
       questions for the juvenile.
....
52.    The respondent father indicated to hospital
       employees and the Guilford County Department of
       Social Services (GCDSS) that he hired an attorney
       within days of March 12, 2020.
53.    SW Sharpe was never allowed into the home
       voluntarily by the respondent parents or [the
       paternal grandmother]. She set up one walk
       through for March 16, 2020, however, the
       respondent father called and canceled that on advice
       of counsel.
....
64.    There are many inconsistencies in the respondent
       parents’ stories about this incident, as delineated in
       the findings of fact and also including, but not
       limited to, the heater being run for days even though
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       it was warm outside, [Wade] only wearing a diaper
       and shirt even though it was cold enough to run the
       heater, and the children were being kept in that
       room to keep them warm.
....
93.    Although respondent mother had concerns with
       [Wren’s] behaviors at her 12-month well child
       checkup, respondent mother did not attend a parent
       educator appointment nor did [Wren] attend her 15-
       month well child appointment. The respondent
       parents brought up [Wren’s] challenging behaviors
       (and specifically repeated attempts to hurt other
       people) at [Wade’s] one-month well baby check on
       January 17, 2020 but cancelled her 18-month
       appointment three times in the month of February
       and rescheduled when she was 20 months old
       (March 30, 2020). The respondent parents had
       allowed [Wren’s] Medicaid coverage to lapse. The
       respondent parents have not attended to [Wren’s]
       medical needs as necessary.
94.    If the respondent parents had such a concern about
       [Wren’s] behavior’s towards others, leaving she and
       [Wade] in a bedroom unattended would not have
       been appropriate.
95.    “Although it is possible, I find it highly unlikely that
       [Wren] climbed out of her crib, displaced [Wade]
       from his cradle, and then climbed back into her crib.”
       This statement from Dr. Esther Smith, MD was
       noted on page 16 of [Wren’s] CME.
....
99.    [Wade] did not roll over by himself until he was
       placed in kinship placement with the [maternal
       grandparents], which would have been sometime
       after April 2, 2020. He could not roll over by himself
       on March 12, 2020.
100.   Dr. Esther Smith, MD indicated that [Wade’s]
       sleeping environment was unsafe in that it was in
       close proximity to a heat source, there were
       excessive blankets creating a suffocation risk, and a
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                            fall risk due to an improperly assembled rocking
                            cradle.
                     101.   Dr. Esther Smith, MD spoke to Dr. Meggan
                            Goodpasture, who reported meeting with [the
                            maternal grandmother] and then with the
                            respondent father. Dr. Goodpasture “felt the initial
                            meeting was not even that inflammatory, dad just
                            seemed controlling.” Dr. Goodpasture was aware of
                            an allegation of domestic violence between the
                            parents, but the hospital “staff could never get mom
                            alone.” After Dr. Goodpasture advised [the maternal
                            grandmother] to explain any safety concerns to CPS,
                            she received a call from the hospital compliance
                            department, advising that respondent father does
                            not want her going back into [Wade’s] room any
                            further. This was documented on page 4 of [Wade’s]
                            CME.
                     102.   That in regard to [Wade], the respondent parents
                            and/or caretaker have inflicted or allowed to be
                            inflicted serious physical injury, possible by other
                            than accidental means and/or created a serious risk
                            of physical injury by other than accidental means.
                     103.   That the juveniles’ parents and/or caretaker did not
                            provide appropriate care or supervision for the
                            juveniles and created an injurious environment
                            placing the juveniles at substantial risk of harm.

¶ 32          Respondent-Mother contends finding of fact 102 is a conclusion of law. We

       agree. Accordingly, we will review finding of fact 102 as a conclusion of law below.

       See Stan D. Bowles Distributing Co. v. Pabst Brewing Co., 69 N.C. App. 341, 344, 317

       S.E.2d 684, 686 (1984) (“If [a] finding of fact is essentially a conclusion of law . . . it

       will be treated as a conclusion of law which is reviewable on appeal.”). Respondents

       do not challenge any other findings of fact; therefore, the remaining findings of fact
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                                          Opinion of the Court



       are deemed supported by competent evidence and are binding on appeal. See In re

       J.M.W., 179 N.C. at 792, 635 S.E.2d at 919.

¶ 33         Respondent-Mother relies on In re K.L. in arguing the trial court’s abuse

       adjudication must be reversed because there is no clear and convincing evidence that

       Wade’s injury was non-accidental. 272 N.C. App. 30, 845 S.E.2d 182. In In re K.L.,

       our Court reversed the trial court’s order adjudicating a juvenile abused on the basis

       that there was “nothing to bridge the evidentiary gap between the unexplained

       injuries . . . and the conclusion that Respondents inflicted them . . . .” Id. at 46, 845

       S.E.2d at 194. Multiple physicians testified at the adjudication hearing. Id. at 34–

       35, 845 S.E.2d at 187. Although one treating doctor who testified had ordered the

       child’s entire body to be assessed for other injuries, he made no abnormal findings.

       Id. at 34, 845 S.E.2d at 187. Despite the lack of abnormal findings, the doctor opined

       that some type of physical abuse was “highly probable” because the parents could not

       provide a history to explain the six fractures in the child’s legs. Id. at 34, 845 S.E.2d

       at 187. The Court reasoned that reversal of the abuse adjudication was proper on the

       ground there were no red flags in the record such as substance abuse, domestic

       violence, or inappropriate discipline or other evidence by which the trial court could

       infer the child was abused; thus, the fact that respondents could not explain the

       baby’s fractures was insufficient to support the trial court’s conclusion of abuse. Id.

       at 46, 845 S.E.2d at 194. Furthermore, the respondent mother did not delay in
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                                          Opinion of the Court



       seeking medical treatment and was “forthcoming and cooperative” in DDS’s

       investigation. Id. at 46, 845 S.E.2d at 194. Finally, there was no clear or convincing

       evidence to support the finding the child’s injury had occurred while the child was in

       the exclusive care of the parents on a certain date. Id. at 37–38, 845 S.E.2d at 189–

       190.

¶ 34          We reject Respondent-Mother’s contention that In re K.L. demands reversal of

       the trial court’s adjudications in this case. We note it is undisputed that Wade’s

       injury occurred on 12 March 2020 while he was in the exclusive care of the children’s

       caretaker, the paternal grandmother. Here, unlike In re K.L., there are ample,

       unchallenged findings of fact to support the inference the child’s injury occurred by

       non-accidental means. See id. at 40, 845 S.E.2d at 191.

¶ 35          First, doctors and social workers pointed to multiple red flags of potential

       domestic abuse, which were documented in the trial court’s findings of fact, including

       findings of fact 32, 33, 43, 46, 47, 64, 95, 99, and 100. These findings of fact establish

       the paternal grandmother had made several threats to or regarding Respondent-

       Mother or the children including on the day of Wade’s injury; Respondents and the

       paternal grandmother conspired to create “false narratives”; Respondents and the

       paternal grandmother repeated multiple, inconsistent stories regarding the events

       surrounding Wade’s injuries, who was caring for Wade on 12 March 2020, and when

       treatment was sought; Respondents provided vague, improbable explanations
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                                           Opinion of the Court



       regarding the mechanism of the injury; Respondents’ final story of events blaming

       their toddler daughter was “highly unlikely”; and doctors treating Wade had reasons

       to suspect abuse in Respondents’ home, including BCH receiving an anonymous call

       in which the caller alleged domestic abuse in Respondents’ home.                     These

       unchallenged findings of fact are deemed supported by clear and convincing evidence.

       See In re J.M.W., 179 N.C. at 792, 635 S.E.2d at 919.

¶ 36            Second, the findings of fact show there was a delay of approximately one hour

       and forty minutes from the time the paternal grandmother initially called

       Respondent-Father at 7:01 p.m. to report the injury to 8:41 p.m. when Wade was

       taken to the hospital for treatment; at no point did the paternal grandmother or

       either Respondent seek emergency medical services from 911 for Wade’s severe

       burns.

¶ 37            Finally, findings of fact 50, 53, 63, 70, 73, 77, and 80 show Respondents were

       not “forthcoming” or “cooperative” with the agencies handling investigations into

       Wade’s injuries, including GCDSS, ACDSS, and the Guilford County Sheriff’s Office;

       rather, Respondents told a “complete lie” and multiple “false narratives” to explain

       Wade’s injury and would not assist ACDSS with completing a review of Respondents’

       home to ensure concerns were addressed. In re K.L., 272 N.C. App. at 46, 845 S.E.2d

       at 194. For the previously stated reasons, “the trial court’s findings of fact . . . support

       the inference” Respondents and the paternal grandmother are responsible for Wade’s
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                                          Opinion of the Court



       injury, and the injury was non-accidental. See In re K.L., 272 N.C. App. at 40, 845

       S.E.2d at 191.

                               2. Conclusions of Law regarding Abuse

¶ 38         As an initial matter, we consider finding of fact 102 as a conclusion of law to

       determine whether it is supported by the findings of fact. See In re F.C.D., 244 N.C.

       App. at 246 780 S.E.2d at 217. Respondent-Mother focuses on the trial court’s lack

       of the essential element of “non-accidental means” to argue Respondents and the

       paternal grandmother did not inflict serious physical injury on Wade, in violation of

       N.C. Gen. Stat. § 7B-101(1)(a) (2019). She fails to address the trial court’s conclusions

       that Respondents posed a “substantial risk of harm” to the children and there was a

       “serious risk of physical injury by other than accidental means” in the home.

       However, as analyzed in detail above, there are sufficient findings of fact to support

       the legal conclusions that the injury was non-accidental, and Wade is an abused

       juvenile as defined by N.C. Gen. Stat. § 7B-101(1)(b). See In re F.C.D., 244 N.C. App.

       at 246 780 S.E.2d at 217; N.C. Gen. Stat. § 7B-101(1)(b).

¶ 39         Both Respondents maintain that there was no witness testimony to support a

       finding that the injuries were non-accidental. We find Respondents’ arguments that

       witness testimony is required to support a finding that an injury is “non-accidental”

       are without merit. Respondents point to no cases to support their contentions that

       medical testimony or other witness testimony is required to prove under N.C. Gen.
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                                         Opinion of the Court



       Stat. § 7B-101(1) an injury is “by other than accidental means.” We note in the

       instant case, there is no witness testimony, or any other direct evidence for that

       matter, that the juvenile was burned through “non-accidental” means. Again, the

       trial court’s conclusion is supported by sufficient, binding findings, which in turn

       support the inference the injuries were non-accidental.

¶ 40         Next, Respondents both argue that the lack of supervision of a juvenile falls

       under the statutory definition of neglect, not abuse. In re K.B., our Court considered

       this argument when a trial court found a juvenile’s parents failed to properly provide

       the juvenile with his prescribed medications used to treat his mental health and

       behavioral issues and adjudicated the minor abused, neglected, and dependent. 253

       N.C. App. 423, 428, 801 S.E.2d 160, 164 (2017). The trial court also found the parents

       did not properly supervise the special-needs juvenile to ensure he would not hurt

       himself. Id. at 435, 801 S.E.2d at 167–68. We upheld the trial court’s adjudications

       and held the respondents created a substantial risk of physical injury by other than

       accidental means by failing to provide the juvenile’s medication and by failing to

       provide adequate supervision of their child; therefore, the trial court’s findings

       supported the conclusion that the juvenile was abused. Id. at 435, 801 S.E.2d at 168.

¶ 41         Similar to In re K.B., in the case sub judice, the trial court made multiple

       findings, including findings of fact 31, 35, 38, and 45, to support the conclusion

       Respondents created a substantial risk of physical injury for their young juvenile
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children by allowing them to be left unsupervised. See id., 253 N.C. App. at 434–35,

801 S.E.2d at 167–68. The findings show Respondent-Mother knew of the paternal

grandmother’s unstable behavior, which necessitated medication, and the substantial

risk of physical injury her volatile conduct posed to the children. See In re M.G.,187

N.C. App. at 549, 653 S.E.2d at 589; In re L.C., 253 N.C. App. 67, 72, 800 S.E.2d 82,

87 (2017) (stating a respondent mother’s knowledge of her child’s previous abuse in

her home would support a conclusion that the parent allowed a substantial risk of

serious injury to the child to be created by allowing the perpetrator to remain in the

home). Despite this risk, Respondent-Mother allowed the paternal grandmother to

continue to care for her children, and she failed to take steps to ensure her children

were properly supervised and protected. See In re M.G.,187 N.C. App. at 549, 653

S.E.2d at 589. The unchallenged findings of fact 32, 33, and 39 establish the paternal

grandmother pointed a gun and threatened Respondent-Mother while in the close

presence of Wes when he was an infant due to the paternal grandmother failing to

take her medication; the paternal grandmother was verbally abusive to Respondent-

Mother when she did not take her medication; and, on the day of the injury, the

paternal grandmother left the small children alone in the home and later called

Respondent-Mother’s manager at work to call Respondent-Mother names, and to

threaten “someone w[ould] take care of [Respondent-Mother’s] kids for her” if she did

not. Therefore, we hold the trial court’s adjudication of abuse is supported by findings
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                                          Opinion of the Court



       of fact, which are in turn deemed supported by clear and convincing evidence. See In

       re F.C.D., 244 N.C. App. at 246 780 S.E.2d at 217.

                                 B. Adjudication of Dependency

¶ 42         Respondent-Mother argues that there was no evidence in the record or findings

       of fact made by the trial court to demonstrate her inability to care for the children.

       Similarly, Respondent-Father contends the trial court did not find he or Respondent-

       Mother was unable to care for their children. We disagree.

¶ 43         The Juvenile Code defines a “dependent juvenile” as a

                    [j]uvenile in need of assistance or placement because (i) the
                    juvenile has no parent, guardian, or custodian responsible
                    for the juvenile’s care or supervision or (ii) the juvenile’s
                    parent, guardian, or custodian is unable to provide for the
                    juvenile’s care or supervision and lacks an appropriate
                    alternative child care arrangement.

       N.C. Gen. Stat. § 7B-101(9) (2019). The trial court is required to make findings of

       facts that address both prongs of N.C. Gen. Stat. § 7B-101(9): (1) the parent’s inability

       to provide care or supervision; and (2) the unavailability to the parent of alternative

       child care arrangements before a juvenile may be adjudicated as dependent. In re

       P.M., 169 N.C. App. 423, 427, 610 S.E.2d 403, 406 (2005). A juvenile may not be

       adjudicated dependent so long as at least one parent is capable of providing or

       arranging for adequate care and supervision of the child. In re V.B., 239 N.C. App.

       340, 342, 768 S.E.2d 867, 868 (2015).
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¶ 44         “[T]he purpose of an adjudicatory hearing [for a dependency proceeding] is to

       determine only ‘the existence or nonexistence of any of the conditions alleged in a

       petition.’” In re V.B., 239 N.C. App. at 344, 768 S.E.2d at 869–70 (quoting N.C. Gen.

       Stat. § 7B-802).

¶ 45         Here, the trial court made the following uncontested findings of fact pertinent

       to the children’s dependency adjudication:

                    45.    The lack of supervision of these juveniles led to
                           [Wade] sustaining his injuries.
                    ....
                    80.    ACDSS was not allowed to enter into the respondent
                           parent’s home before the petition was filed even
                           though the juveniles were not placed at that
                           residence. ACDSS attempted at least six (6) home
                           visits with the respondent parents before the
                           petition was filed. ACDSS was unable to follow up
                           with an in-home review (before the petition was
                           filed) to see if any concerns had been corrected.
                    ....
                    82.    On July 21, 2020 [the maternal grandmother] told
                           ACDSS social workers that she was overwhelmed
                           with all three juveniles, that she had “backhanded”
                           [Wren] because [Wren] split in [her] face, and that
                           she was frustrated with the respondent parents
                           being late to their visits. ACDSS immediately
                           removed the juveniles from the [maternal
                           grandparents] home and began finding another
                           placement.
                    ....
                    86.    Between July 21, 2020 and August 21, 2020, ACDSS
                           inquired of the respondent parents for an alternative
                           plan of care for the juveniles. The respondent
                           parents were able to give two names to SWS
                           Baldwin for the vetting process. ACDSS received
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       lots of calls and emails from random individuals
       inquiring about caring for the juveniles during this
       time period. ACDSS would not discuss the care of
       the juveniles on these calls and emails due to
       confidentiality.    ACDSS followed up with the
       respondent parents by asking them repeatedly to not
       have random people call ACDSS, but rather just
       submit their proposed caregivers to SW Chaney and
       SWS Baldwin.
87.    Of the two names that were given to ACDSS by the
       respondent parents, one person was determined to
       work at ACDSS (but not in the CPS unit) and was
       thus ineligible. The second person called ACDSS
       and left a voicemail stating that he was a neighbor
       of the respondent parents and was approached
       randomly by the respondent father and asked to care
       for the juveniles. He indicated that he was not able
       to care for the juveniles.
88.    This failure to make an appropriate plan of care for
       the juveniles led to the filing of the petitions on
       August 21, 2020.
89.    [Wes] did not see a primary care pediatrician . . .
       from 7 months until he was 32 months old. He also
       went from age 32 months until age 5 years old
       without seeing a primary care pediatrician. In his
       medical records, there were notes about
       developmental delays (including severe delayed
       speech) and a concern about possible autism and
       services were recommended to the parents, but they
       were discontinued due to multiple missed
       appointments. [Wes] failed a hearing test at age 5,
       but passed a hearing test at age 6. The respondent
       parents have not attended to [Wes’s] developmental
       and medical needs as necessary.
....
91.    Although [Wes] had developmental delays, the
       respondent parents did not enroll him in public
       kindergarten. They also did not have an established
       home school structure in place for [Wes]. The
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                          respondent parents have not attended to [Wes’s]
                          educational needs as necessary.
                   ....
                   93.    Although respondent mother had concerns with
                          [Wren’s] behaviors at her 12-month well child
                          checkup, respondent mother did not attend a parent
                          educator appointment nor did [Wren] attend her 15-
                          month well child appointment. The respondent
                          parents brought up [Wren’s] challenging behaviors
                          (and specifically repeated attempts to hurt other
                          people) at [Wade’s] one-month well baby check on
                          January 17, 2020 but cancelled her 18-month
                          appointment three times in the month of February
                          and rescheduled when she was 20 months old
                          (March 30, 2020). The respondent parents had
                          allowed [Wren’s] Medicaid coverage to lapse. The
                          respondent parents have not attended to [Wren’s
                          medical needs as necessary.
                   ....
                   100.   Dr. Esther Smith, MD indicated that [Wade’s]
                          sleeping environment was unsafe in that it was in
                          close proximity to a heat source, there were
                          excessive blankets creating a suffocation risk, and a
                          fall risk due to an improperly assembled rocking
                          cradle.
                   ....
                   103.   That the juveniles’ parents and/or caretaker did not
                          provide appropriate care or supervision for the
                          juveniles and created an injurious environment
                          placing the juveniles at substantial risk of harm.
                   104.   The juveniles’ parents and/or caretaker did not have
                          an appropriate, alternative plan of care.

¶ 46         In this case, ACDSS filed its petitions on 21 August 2021 alleging all three

       children were dependent. Prior to the petitions being filed, ACDSS gave Respondents

       the opportunity to provide an alternative kinship placement because the placement
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       with the neighbors of the maternal grandparents was scheduled to end on 21 August

       2021. When Respondents could not provide another placement, ACDSS sought non-

       secure custody.   ACDSS also gave Respondents the opportunity to address the

       agency’s concerns with their home; however, Respondents failed to allow ACDSS to

       perform an in-home review to assess the changes and refused ACDSS into their home

       on more than six occasions. Based on the findings of fact, the trial court concluded

       as a matter of law that Wade, Wren, and Wes were dependent juveniles under N.C.

       Gen. Stat. § 7B-101(9).

¶ 47         The above findings of fact related to the juveniles’ dependency were not

       challenged by Respondents; thus, the findings are binding on appeal. See In re

       J.M.W., 179 N.C. at 792, 635 S.E.2d at 919.          The findings of fact establish: (1)

       Respondents’ lack of care and supervision over the children led to Wade’s injury; (2)

       Respondents were unable to provide ACDSS with an alternative plan of care for the

       children after the temporary placement with the maternal grandparents’ neighbors

       ended; (3) Respondents failed to meet Wes’ educational needs; and (4) Respondents

       failed to meet the children’s medical needs. We hold the findings of fact are sufficient

       to support a conclusion that Respondents were “unable to provide for the juvenile[s’]

       care or supervision and lack[ed] an appropriate alternative child care arrangement.”

       See N.C. Gen. Stat. § 7B-101(9).

                                          V. Disposition
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                                   A. Steps toward Reunification

¶ 48         The North Carolina General Statutes grants a trial judge the authority to order

       a parent at a dispositional hearing to “[t]ake appropriate steps to remedy conditions

       in the home that led to or contributed to the juvenile’s adjudication or to the court’s

       decision to remove custody of the juvenile from the parent . . . .” N.C. Gen. Stat. § 7B-

       904(d1)(3) (2019).    “For a court to properly exercise the authority permitted by

       [Section 7B-904(d1)], there must be a nexus between the step ordered by the court

       and a condition that is found or alleged to have led to or contributed to the

       adjudication.” In re T.N.G., 244 N.C. App. 398, 408, 781 S.E.2d 93, 101 (2015)

       (citation omitted).

¶ 49         In this case, the trial court ordered Respondent-Mother to take part in certain

       activities which it found were reasonably related to the reasons for the juveniles’

       removal and were aimed at achieving the plan of reunification. Respondent-Mother

       challenges portions of the following steps imposed by the trial court:

                    1. The mother is to provide proof of a sufficient source of
                       income to support herself and her children and use
                       funds to meet basic needs. She can work to achieve this
                       goal by providing income receipts and a budget to the
                       [social worker].
                    2. That the mother will refrain from allowing mental
                       health to impact parenting and provide a safe,
                       appropriate home by not exposing her children to
                       injurious environment. In order to achieve this goal,
                       the mother will obtain and follow the recommendations
                       of a mental health assessment and psychological
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                       evaluation.   The mother will also participate in
                       domestic violence assessment and participate in all
                       recommended services.

¶ 50         Respondent-Mother first argues that her “only ‘fault’ [is] she was working

       many hours to provide financially for her family and left her children in the care of

       their grandmother;” thus, the requirement to show proof of income is unnecessary.

       We disagree.

¶ 51         Here, the trial court found a condition that led to the children’s adjudication

       was lack of care and supervision. In response, the court ordered Respondent-Mother

       to show proof of income. This requirement is reasonably related to ensuring the

       children have adequate care and supervision and to addressing the risk factors

       identified by ACDSS, including to ensure a safe home environment. See In re A.R.,

       227 N.C. App. 518, 522, 742 S.E.2d 629, 623–33 (2013) (holding proof of income was

       reasonably related to remedying the condition of domestic violence, which led to

       children’s removal from their parents’ home).

¶ 52         Next, Respondent-Mother argues there is no evidence in the record that she

       suffered from mental illness; therefore, the provision that Respondent-Mother

       “refrain from allowing mental health to impact [her] parenting” bears no relationship

       to her children’s removal from her home. We disagree. Again, the trial court’s

       findings that Respondent-Mother had conspired with Respondent-Father and the

       paternal grandmother “to develop a completely false narrative” about Wade’s injuries
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       and that Respondent-Mother “promulgated [a] false narrative” about her toddler

       child being at fault for Wade’s burns support the trial court’s mandate. Additionally,

       physicians and social workers had reason to suspect domestic violence occurred in

       Respondents’ home but “could never get mom alone” and the social workers were

       never able to complete their in-home review before the adjudication petitions were

       filed. The trial court’s decree is reasonably related to ensuring the children’s safety

       and proper supervision.

¶ 53         We hold the trial court’s order that Respondent-Mother show proof of income

       and “refrain from allowing mental health to impact parenting” are “appropriate steps

       to remedy conditions in the home that led to or contributed to the juvenile’s

       adjudication.” See N.C. Gen. Stat. § 7B-904(d1)(3).

                                           B. Visitation

¶ 54         Respondent-Mother contends the trial court abused its discretion by limiting

       Respondent-Mother’s visitation with her children to one-hour of highly supervised

       weekly visits because “[t]here is absolutely zero evidence in the record that

       [Respondent-Mother] presented any kind of threat to harm her children.”            We

       disagree.

¶ 55         “This Court reviews the trial court’s dispositional orders of visitation for an

       abuse of discretion.” In re C.M., 183 N.C. App. 207, 215, 644 S.E.2d 588, 595 (2007)

       (citation omitted).
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¶ 56         N.C. Gen. Stat. § 7B-905.1 provides:

                    [a]n order that removes custody of a juvenile from a parent
                    . . . or that continues the juvenile’s placement outside the
                    home shall provide for visitation that is in the best
                    interests of the juvenile consistent with the juvenile’s
                    health and safety, including no visitation.

       N.C. Gen. Stat. § 7B-905.1(a) (2019).

¶ 57         Here, the trial court addressed Respondent-Mother’s visitation with her

       children in its dispositional order and granted the following plan:

                    [Respondent-Mother] shall have visitation on Fridays from
                    11 a.m. until 12 p.m. which is consistent with the juveniles’
                    health and safety. That the level of supervision shall
                    include high—eyes and ears on, direct supervision. The
                    parties may mutually agree to additional visitation with
                    the same level of supervision or to change the location of
                    visitation.

¶ 58         Respondent-Mother relies on the trial court’s finding that the visits with her

       children while they were placed with the neighbor of the maternal grandmother were

       “normal” and “loving” to argue her visitation should not have changed from four hours

       per day to once per week after the children were placed in a foster home. However,

       Respondents were aware that the neighbors could act only as a temporary placement

       until 21 July 2020. Respondents failed to provide ACDSS with the name of an

       appropriate alternative placement before the placement with the neighbors ended.

       Accordingly, ACDSS filed petitions and sought nonsecure custody of the children.

       ACDSS placed the children with a foster family in Moore County, an approximate
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       one-and-a-half-hour drive from Respondents’ home, so that all three children could

       be placed together. Respondent-Mother fails to cite to any case in which this Court

       held that a limitation on visitation to once per week was an abuse of discretion after

       a juvenile had been placed in foster care. The highly supervised, one-hour weekly

       visits with Respondents is consistent with the 4 November 2020 recommendation of

       the guardian ad litem as well as ACDSS’s recommendations in its 18 November 2020

       dispositional court report. Additionally, the trial court’s order allows the option for

       the foster family and Respondents to agree to additional visitation time. Therefore,

       the trial court had a reasonable basis for limiting Respondent-Mother’s visitation

       with the children to one-hour, weekly visits.

                                 C. Constitutional Right to Parent

¶ 59         “The standard of review for alleged violations of constitutional rights is de

       novo.” In re L.C., 253 N.C. App. 67, 72, 800 S.E.2d 82, 87 (2017) (citation omitted).

       “[A] trial court’s determination that a parent’s conduct is inconsistent with his or her

       constitutionally protected status must be supported by clear and convincing

       evidence.” Adams v. Tessener, 354 N.C. 57, 63, 550 S.E.2d 499, 503 (2001) (citation

       omitted).

¶ 60         “This Court has held that where a parent is on notice that guardianship with

       a third party has been recommended and will be determined at the hearing, if the

       parent fails to raise this argument at the hearing, appellate review of the
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       constitutional issues is waived.” In re S.R.J.T., 2021-NCCOA-94 ¶ 17. In order for

       waiver to occur, the parent must have been afforded the opportunity to object or raise

       the argument at the hearing. In re R.P., 252 N.C. App. 301, 305, 798 S.E.2d 428, 431
       (2017); see In re C.P., 258 N.C. App. 241, 246, 812 S.E.2d 188, 192 (2018) (holding

       waiver occurred where a respondent did not “argue[ ] to the court or otherwise raise[

       ] the issue that guardianship would be an inappropriate disposition on a

       constitutional basis.”) (emphasis added).

¶ 61         In this case, Respondent-Mother’s counsel was on notice that guardianship of

       the children was recommended, and she had an opportunity to be heard at the

       dispositional hearing on the issue. In response, counsel stated at the hearing that

       Respondent-Mother would “of course . . . like to have custody of the children, and it’s

       her position that she could handle that. We would like to ask for expanded visitation,

       and that has been offered.” Counsel for Respondent-Mother also argued to the trial

       court at the dispositional hearing that the allegations against Respondents related to

       abuse, neglect, and dependency be dismissed and the children be returned to

       Respondents’ home.     At no point during the hearing did Respondent-Mother or

       Respondent-Mother’s counsel raise the issue of Respondent-Mother’s constitutional

       rights afforded to her as a parent. Therefore, we hold Respondent-Mother waived her

       right to raise the constitutional argument on appeal. See In re T.P., 217 N.C. App.

       181, 186, 718 S.E.2d 716, 719 (2011) (holding the respondent mother waived review
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       of the issue of whether she acted in a manner inconsistent with her constitutionally

       protect status as a parent because she failed to object at trial).

                                           VI. Conclusion

¶ 62         We affirm the trial court’s adjudication of Wade as an abused, neglected, and

       dependent juvenile and its adjudication of Wes and Wren as neglected and dependent

       juveniles. We hold the trial court did not err in mandating Respondent-Mother to

       show proof of income and “to refrain from allowing mental health to impact

       parenting” as appropriate steps to remedy the conditions in the Respondents’ home

       that led to the juveniles’ adjudications. We affirm the trial court’s visitation plan in

       the disposition order. Finally, we hold Respondent-Mother waived her constitutional

       argument as to the trial court’s conclusion that she acted in a manner inconsistent

       with her status as a parent.

             AFFIRMED.

             Judges DILLON and INMAN concur.
